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9    Las Vegas, Nevada 89121
10                               UNITED STATES DISTRICT COURT
11                                          DISTRICT OF NEVADA
12     BANK OF AMERICA, N.A.,                            Case No.: 2:21-cv-00584-KJD-NJK
13                            Plaintiff,                 STIPULATION TO STAY CASE
14                    vs.
15     NORTH AMERICAN TITLE INSURANCE
       COMPANY,
16
                              Defendant.
17

18

19           Defendant North American Title Insurance Company (“NATIC”), on the one hand, and
20   plaintiff Bank of America, N.A. (“BANA”), on the other hand, hereby stipulate and agree as
21   follows:
22           This is one of many actions pending before the Nevada state and federal courts involving a
23   Lender’s alleged entitlement to coverage under a title insurance policy following an HOA
24   foreclosure sale. BANA filed this specific action in Nevada’s Eighth District Court on April 8,
25   2021;
26           NATIC removed this case to the United States District Court on April 9, 2021.
27   The parties have since engaged with one another about the possibility of settling this and other
28   similarly situated matters involving these specific parties. Due to the number of claims involved,

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1    the parties anticipate it may take several months to complete negotiations. In order to preserve
2    resources during this process, the parties stipulate and agree that this matter should be stayed.
3           NOW THEREFORE, BANA and NATIC hereby STIPULATE and AGREE as follows:
4           1. This action shall be STAYED;
5           2. Either Party may move to lift this stay at any time.
6           3. The Parties shall provide the District Court with a joint status update regarding the
7               status of their settlement negotiations ninety (90) days after entry of the order on this
8               stipulation.
9
     Dated: April 14, 2021                          SINCLAIR BRAUN LLP
10
                                                    By:    /s/-Kevin S. Sinclair
11                                                        KEVIN S. SINCLAIR
                                                          Attorneys for Defendants
12                                                        NORTH AMERICAN TITLE INSURANCE
                                                          COMPANY
13
     Dated: April 14, 2021                          WRIGHT, FINLAY & ZAK, LLP
14

15                                                  By:    /s/-Darren T. Brenner
                                                          DARREN T. BRENNER
16
                                                          Attorneys for Plaintiff
                                                          BANK OF AMERICA, N.A.
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18   IT IS SO ORDERED.

19          Dated this _____ day of _____________, 2021.

20                                                  __________________________________________
                                                    KENT J. DAWSON
21                                                  UNITED STATES DISTRICT JUDGE
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                                        STIPULATION TO STAY CASE
